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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MISSOURI
                              SOUTHEASTERN DIVISION

KRISTY KEIRSEY,                               )
                                              )
              Plaintiff,                      )
                                              )
       V.                                     )
                                              )       Case No.1 :24-CV-0 I 26-SNLJ
NEWTON, et al                                 )
                                              )
              Defendants.                     )
                                              )



                            MEMORANDUM AND ORDER

       This closed matter is before the Court upon Plaintiffs motion to proceed informa

pauperis on appeal [Doc. 27], Plaintiffs motion for reconsideration [Doc. 24], and

Defendants' motion for an order to show cause [Doc. 32]. Upon dismissal of this action,

Plaintiff filed a notice of appeal to the Eighth Circuit Court of Appeals. [Doc.26]. Due

to the notice of appeal, this Court cannot address the motion for reconsideration or the

defendants' motion for an order to show cause [Docs.24 and 32] because it no longer has

jurisdiction over the matter."The filing of a notice of appeal... confers jurisdiction on

the court of appeals and divests the district court of its control over those aspects of the

case involved in the appeal.'' Liddell v. Bd. Of Educ. Of St. Louis, 7 3 F.3d 819,822 (8th

Cir. I 996). This Court can, however, review and rule upon Plaintiffs motion to proceed

informa pauperis on appeal. Based on the financial information submitted in the report,

the Court will grant the request. The two remaining motions will remain pending until
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the Eighth Circuit Court of Appeals issues its mandate regarding Plaintiffs appeal.

      IT IS HEREBY ORDERED that plaintiffs motion to proceed informa pauperis

[Doc. 27] is GRANTED.


      Dated this?f'J;' day of March 2025.




                                        STEPHEN N.LiMBAUGH,J,
                                        SENIOR UNITED STATES DISTRICT JUDGE




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